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                                 UNITED STATES BANKRUPTCY COURT
                                    SOUTHERN DISTRICT OF OHIO
                                         EASTERN DIVISION

  In re:                                          §    Case No. 2:16-BK-50183
                                                  §
  HEALTHSPOT INC.                                 §
                                                  §
                                                  §
                      Debtor(s)                   §

           CHAPTER 7 TRUSTEE’S FINAL ACCOUNT AND DISTRIBUTION REPORT
           CERTIFICATION THAT THE ESTATE HAS BEEN FULLY ADMINISTERED
                      AND APPLICATION TO BE DISCHARGED (TDR)

          Myron N. Terlecky, chapter 7 trustee, submits this Final Account, Certification that the
  Estate has been Fully Administered and Application to be Discharged.

       1)       All funds on hand have been distributed in accordance with the Trustee’s Final
Report and, if applicable, any order of the Court modifying the Final Report. The case is fully
administered and all assets and funds which have come under the trustee’s control in this case
have been properly accounted for as provided by law. The trustee hereby requests to be
discharged from further duties as a trustee.

       2)      A summary of assets abandoned, assets exempt, total distributions to claimants,
claims discharged without payment, and expenses of administration is provided below:



Assets Abandoned:             $1,406,529.65           Assets Exempt:       NA
(without deducting any secured claims)



Total Distributions to                                Claims Discharged
Claimants:                        $1,190,867.42       Without Payment:     NA

Total Expenses of
Administration:                   $893,186.25


       3)      Total gross receipts of $2,194,053.67 (see Exhibit 1), minus funds paid to the
debtor(s) and third parties of $110,000.00 (see Exhibit 2), yielded net receipts of $2,084,053.67
from the liquidation of the property of the estate, which was distributed as follows:




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                                   CLAIMS           CLAIMS             CLAIMS               CLAIMS
                                 SCHEDULED         ASSERTED           ALLOWED                PAID
  Secured Claims
  (from Exhibit 3)                $1,629,048.20     $5,877,154.32       $159,772.38         $880,172.83
  Priority Claims:
      Chapter 7
      Admin. Fees and                       NA       $929,154.73        $929,154.73         $893,186.25
      Charges
       (from Exhibit 4)
      Prior Chapter
      Admin. Fees and                       NA             $0.00               $0.00               $0.00
      Charges (from
      Exhibit 5)
      Priority
      Unsecured                          $0.00       $270,192.97        $263,411.32         $263,411.32
      Claims
      (From Exhibit 6)
  General Unsecured
  Claims (from                   $21,645,807.22    $25,839,428.11    $24,177,214.57          $47,283.27
  Exhibit 7)
           Total
     Disbursements               $23,274,855.42    $32,879,961.65    $25,493,584.52       $2,084,053.67

        4). This case was originally filed under chapter 7 on 01/13/2016. The case was pending
  for 63 months.

       5). All estate bank statements, deposit slips, and canceled checks have been submitted to
  the United States Trustee.

        6). An individual estate property record and report showing the final accounting of the
  assets of the estate is attached as Exhibit 8. The cash receipts and disbursements records for
  each estate bank account, showing the final accounting of the receipts and disbursements of
  estate funds is attached as Exhibit 9.

       Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the
  foregoing report is true and correct.

         Dated: 04/06/2021                               By: /s/ Myron N. Terlecky
                                                         /My Trustee
                                                         ron
                                                         N.
                                                         Terl
                                                         eck
                                                         y
  STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
  Act exemption 5 C.F.R. § 1320.4(a)(2) applies.



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                                                   EXHIBITS TO
                                                  FINAL ACCOUNT

 EXHIBIT 1 – GROSS RECEIPTS

                        DESCRIPTION                                        UNIFORM                        AMOUNT
                                                                          TRAN. CODE                     RECEIVED
2000 Lexus RX300 $2,300.00 NADA                                            1129-000                        $4,400.00
Key Bank Checking 0305                                                     1129-000                        $4,427.71
Key Bank Checking 1170                                                     1129-000                          $225.80
Key Bank Checking 8226                                                     1129-000                       $85,147.42
Office Furniture, Non-Leased Computers & Laptops Recent cost               1129-000                       $92,808.55
Telemedicine Kiosks - approximately 137 in the possession of               1129-000                      $195,166.22
the Debtor late 2015 Recent Cost
Telemedicine Kiosks - approximatley 54 in the possession of                1129-000                      $357,967.11
customers pursuant to agreements late 2015 Recent Cost
Tooling Replacement                                                        1129-000                       $22,300.00
Retainer for legal services with Dickinson Wright PLLC - may               1141-000                       $11,534.90
be subject to setoff
Intellectual property rights and patents associated with the               1180-000                      $624,566.67
telemedicine business of the Debtor
Insurance Refund from Arthur Krenzel Lett Insurance Group                  1221-000                          $526.32
Petty Cash                                                                 1229-000                          $137.08
Avoidance Claims                                                           1241-000                      $794,300.00
American Electric--Appliance Recycling Rebate                              1290-000                           $65.00
Huntington Bank ACH Refund                                                 1290-000                           $66.85
Verizon Overpayments                                                       1290-000                          $414.04
TOTAL GROSS RECEIPTS                                                                                    $2,194,053.67

 The Uniform Transaction Code is an accounting code assigned by the trustee for statistical reporting purposes.

 EXHIBIT 2 – FUNDS PAID TO DEBTOR & THIRD PARTIES

               PAYEE                                   DESCRIPTION                     UNIFOR             AMOUNT
                                                                                          M                  PAID
                                                                                        TRAN.
                                                                                        CODE
Cardinal Health, Inc.                    Funds to Third Parties                        8500-002           $10,000.00
PJGIP, LLC                               Funds to Third Parties                        8500-002          $100,000.00
TOTAL FUNDS PAID TO                                                                                       $110,000.0
DEBTOR AND THIRD PARTIES                                                                                           0


 EXHIBIT 3 – SECURED CLAIMS

 CLAIM          CLAIMANT             UNIFORM               CLAIMS             CLAIMS   CLAIMS               CLAIMS
NUMBER                              TRAN. CODE          SCHEDULED           ASSERTED ALLOWED                  PAID
     2        Wells Fargo              4210-000                   $0.00       $5,872.83     $5,872.83      $5,872.83
              Equipment

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               Finance
     20        Dell Financial           4210-000            $0.00         $131,599.55    $131,599.5   $131,599.55
               Services L.L.C.                                                                    5
     23        King Business            4110-000            $0.00         $106,532.54         $0.00         $0.00
               Interiors, Inc.
     30        JNH Logistics,           4110-000            $0.00           $11,698.25        $0.00         $0.00
               LLC
     31        Rite Aid Hdqtrs.         4210-000            $0.00         $161,613.08         $0.00         $0.00
               Corp.
     35        Ohio                     4210-000     $1,629,048.20       $1,806,229.60        $0.00   $720,400.45
               Development
               Services Agency
     37        Commercial               4210-000            $0.00        $3,637,763.47   $22,300.00    $22,300.00
               Vehicle Group,
               Inc.
     41        JNH Logistics,           4110-000            $0.00           $15,845.00        $0.00         $0.00
               LLC
TOTAL SECURED CLAIMS                                 $1,629,048.20       $5,877,154.32   $159,772.3   $880,172.83
                                                                                                  8


 EXHIBIT 4 – CHAPTER 7 ADMINISTRATIVE FEES and CHARGES

       PAYEE                UNIFORM               CLAIMS          CLAIMS             CLAIMS             CLAIMS
                           TRAN. CODE          SCHEDULED        ASSERTED           ALLOWED                PAID
Myron N. Terlecky,               2100-000              NA            $85,771.61     $85,771.61         $85,771.61
Trustee
Myron N. Terlecky,               2200-000              NA             $2,157.05      $2,157.05          $2,157.05
Trustee
INSURANCE                        2300-000              NA              $230.66           $230.66         $230.66
PARTNERS
545 Metro Place, LLC             2410-000              NA       $104,918.04        $104,918.04        $104,918.04
JNH Logistics                    2410-000              NA            $35,968.48     $35,968.48         $26,924.57
Treasurer, State of              2410-000              NA            $37,596.77     $37,596.77         $37,596.77
Ohio
American Electric                2420-000              NA              $561.41           $561.41         $561.41
Power
Dan Schrader                     2420-000              NA             $2,870.00      $2,870.00          $2,870.00
Franklin Computer                2420-000              NA             $5,571.50      $5,571.50          $5,571.50
Services Group
JNH Logistics                    2420-000              NA            $35,968.48     $35,968.48          $9,043.91
Ohio Mobile                      2420-000              NA              $425.16           $425.16         $425.16
Shredding
Berkshire Hathaway               2420-750              NA             $3,357.00      $3,357.00          $3,357.00
Homestate Insurance
Co.
Pinnacle Bank                    2600-000              NA            $10,099.52     $10,099.52         $10,099.52
CLERK U S                        2700-000              NA             $2,800.00      $2,800.00          $2,800.00
BANKRUPTCY
COURT
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PJGIP, LLC                   2990-000               NA       $35,000.00         $35,000.00        $35,000.00
MYRON N                      3110-000               NA      $240,211.25    $240,211.25           $240,211.25
TERLECKY, ESQ.,
Attorney for Trustee
MYRON N                      3120-000               NA       $20,848.65         $20,848.65        $20,848.65
TERLECKY, ESQ.,
Attorney for Trustee
FAY SHARPE LLP,              3210-600               NA       $18,254.00         $18,254.00        $18,254.00
Special Counsel for
Trustee
James E. Arnold,             3210-600               NA      $131,030.25    $131,030.25           $131,030.25
Special Counsel for
Trustee
FAY SHARPE LLP,              3220-610               NA       $11,115.76         $11,115.76        $11,115.76
Special Counsel for
Trustee
James E. Arnold,             3220-610               NA       $12,595.69         $12,595.69        $12,595.69
Special Counsel for
Trustee
Blue & Co., LLC,             3410-000               NA        $9,437.00          $9,437.00         $9,437.00
Accountant for
Trustee
Clarus Partners, LLC,        3410-000               NA       $11,650.00         $11,650.00        $11,650.00
Accountant for
Trustee
Auction Ohio,                3610-000               NA        $9,720.85          $9,720.85         $9,720.85
Auctioneer for Trustee
Auction Ohio,                3620-000               NA        $4,074.32          $4,074.32         $4,074.32
Auctioneer for Trustee
Edward T. Gavin,             3731-000               NA       $96,835.00         $96,835.00        $96,835.00
CTP, Consultant for
Trustee
Edward T. Gavin,             3732-000               NA            $86.28           $86.28            $86.28
CTP, Consultant for
Trustee
TOTAL CHAPTER 7 ADMIN. FEES AND                     NA      $929,154.73    $929,154.73           $893,186.25
CHARGES


 EXHIBIT 5 – PRIOR CHAPTER ADMINISTRATIVE FEES and CHARGES
 NONE


 EXHIBIT 6 – PRIORITY UNSECURED CLAIMS

 CLAIM          CLAIMANT             UNIFORM          CLAIMS        CLAIMS          CLAIMS         CLAIMS
NUMBER                              TRAN. CODE     SCHEDULED      ASSERTED        ALLOWED            PAID
     21       Mark DeCastro           5300-000            $0.00    $12,850.00        $6,148.72     $6,148.72
     29       Ohio Department         5800-000            $0.00   $248,974.42     $248,974.42 $248,974.42
              of Taxation
     42       State of Florida -      5800-000            $0.00       $345.74         $305.37       $305.37
              Department of

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              Revenue
     47       State of Florida -      5800-000            $0.00          $40.00         $0.00       $0.00
              Department of
              Revenue
              Internal Revenue        5800-000            $0.00        $983.03        $983.03     $983.03
              Service
              State of Ohio--         5800-000            $0.00        $256.50        $256.50     $256.50
              Ohio Department
              of Taxation
              City Treasurer          5300-000            $0.00        $321.25        $321.25     $321.25
              Internal Revenue        5300-000            $0.00          $42.00        $42.00      $42.00
              Service
              Internal Revenue        5300-000            $0.00       $5,737.53      $5,737.53   $5,737.53
              Service
              Ohio Department         5300-000            $0.00        $642.50        $642.50     $642.50
              of Taxation
TOTAL PRIORITY UNSECURED CLAIMS                           $0.00     $270,192.97   $263,411.32 $263,411.32


 EXHIBIT 7 – GENERAL UNSECURED CLAIMS

 CLAIM          CLAIMANT             UNIFORM        CLAIMS          CLAIMS          CLAIMS       CLAIMS
NUMBER                              TRAN. CODE   SCHEDULED        ASSERTED        ALLOWED          PAID
     1        NewCrop, LLC            7100-000      $57,000.00     $57,000.00      $57,000.00       $0.00
              Clerk, US               7100-001           $0.00          $0.00           $0.00     $111.47
              Bankruptcy Court
              (Claim No. 1;
              NewCrop, LLC)
     3        Fay Sharpe LLP          7100-000     $469,500.74    $524,850.21     $524,850.21    $1,026.45
     4        Vidyo, Inc.             7100-000      $60,922.35     $60,922.35      $60,992.35     $119.28
     5        AT&T Corp.              7100-000       $1,282.83      $1,175.33       $1,175.33       $0.00
              Clerk, US               7100-001           $0.00          $0.00           $0.00       $2.30
              Bankruptcy Court
              (Claim No. 5;
              AT&T Corp.)
     6        Southwest               7100-000      $13,060.65     $13,963.90      $13,963.90       $0.00
              Displays &
              Events
              Clerk, US               7100-001           $0.00          $0.00           $0.00      $27.31
              Bankruptcy Court
              (Claim No. 6;
              Southwest
              Displays &
              Events)
     7        Silo Connectors,        7100-000       $3,100.00      $3,100.00       $3,100.00       $0.00
              LLC
              Clerk, US               7100-001           $0.00          $0.00           $0.00       $6.06
              Bankruptcy Court
              (Claim No. 7;
              Silo Connectors,
              LLC)

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     8        Thomson Reuters        7100-000       $1,887.47     $2,260.09     $2,260.09      $0.00
              Clerk, US              7100-001           $0.00         $0.00         $0.00      $4.42
              Bankruptcy Court
              (Claim No. 8;
              Thomson
              Reuters)
     9        Bennett Jones          7100-000      $54,097.21    $61,707.81    $61,707.81    $120.68
              LLP
     10       CDW                    7100-000       $5,230.43     $5,230.43     $5,230.43     $10.23
     11       Richard Benson         7100-000      $31,987.50    $31,987.50    $31,987.50     $62.56
     12       Yamamoto               7100-000      $66,039.24    $66,039.24         $0.00      $0.00
     13       Kelly Services,        7100-000      $12,425.40    $12,425.40    $12,425.40      $0.00
              Inc
              Clerk, US              7100-001           $0.00         $0.00         $0.00     $24.30
              Bankruptcy Court
              (Claim No. 13;
              Kelly Services,
              Inc)
     14       Executive Travel       7100-000      $21,191.42    $25,035.22    $25,035.22      $0.00
              Planners Inc.
              Clerk, US              7100-001           $0.00         $0.00         $0.00     $48.96
              Bankruptcy Court
              (Claim No. 14;
              Executive Travel
              Planners Inc.)
     15       Harris Mackessy        7100-000     $105,275.00   $105,275.00   $105,275.00    $205.89
              & Brennan
     16       Level 3                7100-000           $0.00      $873.89       $873.89       $0.00
              Communications,
              LLC
              Clerk, US              7100-001           $0.00         $0.00         $0.00      $1.71
              Bankruptcy Court
              (Claim No. 16;
              Level 3
              Communications,
              LLC)
     17       Humble                 7100-000     $150,688.00    $38,013.00    $38,013.00     $74.34
              Construction Co.
     18       Robert Half            7100-000      $44,018.75   $100,534.43         $0.00      $0.00
              Technology
     19       Information            7100-000      $58,240.00    $58,240.00    $58,240.00    $113.90
              Control Company
    20A       Dell Financial         7100-000           $0.00   $476,434.83   $476,434.83    $931.76
              Services L.L.C.
    21a       Mark DeCastro          7100-000           $0.00    $52,150.00    $52,150.00      $0.00
              Clerk, US              7100-001           $0.00         $0.00         $0.00    $101.99
              Bankruptcy Court
              (Claim No. 21a;
              Mark DeCastro)
     22       FedEx                  7100-000       $1,797.39     $1,950.46     $1,950.46      $0.00
              TechConnect, Inc.

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              Clerk, US               7100-001           $0.00          $0.00          $0.00         $3.81
              Bankruptcy Court
              (Claim No. 22;
              FedEx
              TechConnect,
              Inc.)
     24       NFS Leasing Inc         7100-000           $0.00   $303,422.70           $0.00         $0.00
     25       Connected Health        7100-000   $10,000,000.00 $11,011,111.0 $11,011,111.00         $0.00
              Innovations LLC                                               0
              Clerk, US               7100-001           $0.00          $0.00          $0.00    $21,534.37
              Bankruptcy Court
              (Claim No. 25;
              Connected Health
              Innovations LLC)
     26       Arrow Electronics       7100-000     $478,043.08   $651,843.27     $651,843.27     $1,274.81
              Inc
     27       Hopkins Printing,       7100-000       $8,154.02      $8,154.02      $8,154.02       $15.95
              Inc.
     28       Dell Marketing,         7100-000           $0.00     $23,991.01     $23,991.01       $46.92
              L.P.
    31a       Rite Aid Hdqtrs.        7100-000       $7,864.00   $110,847.42     $272,460.50         $0.00
              Corp.
              Clerk, US               7100-001           $0.00          $0.00          $0.00      $532.85
              Bankruptcy Court
              (Claim No. 31a;
              Rite Aid Hdqtrs.
              Corp.)
     32       Steve Cashman           7100-000           $0.00   $100,000.00           $0.00         $0.00
     33       Microsoft               7100-000           $0.00     $27,852.00     $27,852.00       $54.47
              Corporation and
              Microsoft
              Licensing GP
     34       Variety Children's      7100-000     $156,000.00   $250,000.00     $225,000.00      $440.03
              Hsp fka Miami
              Chldrn's Hsp
    35A       Ohio                    7100-000           $0.00 $1,085,829.15    $1,085,829.15    $2,123.55
              Development
              Services Agency
    36A       545 Metro Place,        7100-000           $0.00   $244,156.77     $244,156.77      $477.50
              LLC
     36       545 Metro Place,        7100-000           $0.00     $26,229.51          $0.00         $0.00
              LLC
    37a       Commercial              7100-000           $0.00 $2,627,647.53    $2,627,647.53    $5,138.89
              Vehicle Group
              Inc.
     38       Kaiser                  7100-000           $0.00          $0.00          $0.00         $0.00
              Foundation
              Health Plan, Inc.
     39       Xerox Consultant        7100-000           $0.00   $272,303.90     $272,303.90      $532.54
              Company, Inc.
     40       Xerox Consultant        7100-000    $6,000,000.00 $6,079,200.00   $6,079,200.00   $11,889.06
              Company, Inc.
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    41a       JNH Logistics,          7100-000           $0.00   $110,155.00         $0.00      $0.00
              LLC
    42a       State of Florida -      7100-000           $0.00      $275.00          $0.00      $0.00
              Department of
              Revenue
     43       Franchise Tax           7100-000           $0.00      $810.06          $0.00      $0.00
              Board
     44       Ohio                    7100-000           $0.00 $1,085,829.15         $0.00      $0.00
              Development
              Services Agency
     45       UnitedHealthcare        7100-000           $0.00   $115,000.00   $115,000.00    $224.91
              Community Plan
              of Ohio Inc
     46       Franchise Tax           7100-000           $0.00      $800.00          $0.00      $0.00
              Board
    46A       Franchise Tax           7200-000           $0.00     $2,822.25         $0.00      $0.00
              Board
    47a       State of Florida -      7100-000           $0.00      $350.00          $0.00      $0.00
              Department of
              Revenue
     48       Franchise Tax           7200-000           $0.00     $1,629.28         $0.00      $0.00
              Board
              ADA Compliance          7100-000       $5,575.00         $0.00         $0.00      $0.00
              Consultants
              Alchemy                 7100-000       $2,850.00         $0.00         $0.00      $0.00
              Graphics
              American Electric       7100-000        $528.44          $0.00         $0.00      $0.00
              Power
              Arena Solutions         7100-000        $184.34          $0.00         $0.00      $0.00
              Inc.
              Atchley Signs           7100-000        $671.88          $0.00         $0.00      $0.00
              Barski Drake            7100-000       $1,300.00         $0.00         $0.00      $0.00
              Browne PLC
              BT HealthSpot           7100-000      $27,000.00         $0.00         $0.00      $0.00
              Investments LP
              BTRx Initiatives        7100-000       $5,000.00         $0.00         $0.00      $0.00
              LLC
              Caster                  7100-000      $37,808.69         $0.00         $0.00      $0.00
              Communications
              Cerdant                 7100-000       $3,360.00         $0.00         $0.00      $0.00
              Columbia Gas of         7100-000        $634.04          $0.00         $0.00      $0.00
              Ohio Inc.
              Computerized            7100-000           $0.00         $0.00         $0.00      $0.00
              Screening Inc.
              Continental             7100-000        $869.19          $0.00         $0.00      $0.00
              Office
              Enviornments
              Creative Financial      7100-000       $2,976.14         $0.00         $0.00      $0.00
              Staffing LLC
              Diversified             7100-000       $1,125.79         $0.00         $0.00      $0.00
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              Assemlies Inc.
              Dunnhumby              7100-000      $25,000.00     $0.00       $0.00      $0.00
              EAG                    7100-000      $24,505.38     $0.00       $0.00      $0.00
              Expedient              7100-000       $8,945.79     $0.00       $0.00      $0.00
              Gordon Flesh           7100-000         $483.49     $0.00       $0.00      $0.00
              Ice Miller LLP         7100-000          $63.00     $0.00       $0.00      $0.00
              Keylingo               7100-000         $172.70     $0.00       $0.00      $0.00
              Translations
              King Business          7100-000     $103,826.67     $0.00       $0.00      $0.00
              Interiors
              KPMG Corporate         7100-000           $0.00     $0.00       $0.00      $0.00
              Finance LLC
              KTM2 LLC               7100-000      $39,512.62     $0.00       $0.00      $0.00
              Local Waste            7100-000         $140.56     $0.00       $0.00      $0.00
              Services Ltd.
              Make It Pretty         7100-000      $16,875.00     $0.00       $0.00      $0.00
              Inc.
              Mayo Foundation        7100-000      $16,900.00     $0.00       $0.00      $0.00
              For Medical
              Education
              McDoanld               7100-000    $1,500,000.00    $0.00       $0.00      $0.00
              HealthSpot LLC
              Medventures/Clo        7100-000     $479,570.00     $0.00       $0.00      $0.00
              ud MD
              Mitchell Silver        7100-000      $40,000.00     $0.00       $0.00      $0.00
              Nottingham Spirk       7100-000      $55,682.00     $0.00       $0.00      $0.00
              Office Depot           7100-000         $985.10     $0.00       $0.00      $0.00
              Ohio Chamber of        7100-000       $3,100.00     $0.00       $0.00      $0.00
              Commerce
              Ometek                 7100-000      $12,949.43     $0.00       $0.00      $0.00
              Incorporated
              Pitney Bowes           7100-000          $39.98     $0.00       $0.00      $0.00
              Pro Football Hall      7100-000         $700.00     $0.00       $0.00      $0.00
              of Fame
              Product Safey          7100-000       $7,437.50     $0.00       $0.00      $0.00
              Consulting Inc.
              Promedica              7100-000      $30,000.00     $0.00       $0.00      $0.00
              Physicians
              Robert Half            7100-000      $56,515.68     $0.00       $0.00      $0.00
              International
              Robert W. Baird        7100-000       $8,242.81     $0.00       $0.00      $0.00
              Co.
              SAGE                   7100-000       $1,614.65     $0.00       $0.00      $0.00
              Salesforce.com         7100-000      $34,413.75     $0.00       $0.00      $0.00
              Schneider Downs        7100-000      $31,609.00     $0.00       $0.00      $0.00
              & Co. Inc.
              SEKO                   7100-000       $8,971.79     $0.00       $0.00      $0.00

UST Form 101-7-TDR (10/1/2010)
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              Shred-It              7100-000         $120.00         $0.00           $0.00        $0.00
              Tableau Software      7100-000       $9,040.62         $0.00           $0.00        $0.00
              TCSP Inc.             7100-000         $514.41         $0.00           $0.00        $0.00
              The Junto             7100-000      $17,000.00         $0.00           $0.00        $0.00
              Company
              Time Warner           7100-000       $2,385.16         $0.00           $0.00        $0.00
              Cable
              Tri-State             7100-000      $10,000.00         $0.00           $0.00        $0.00
              Outreach
              TVII Corp             7100-000    $1,200,000.00        $0.00           $0.00        $0.00
              Twin Valley           7100-000         $750.00         $0.00           $0.00        $0.00
              Publications
              Vector Security       7100-000          $51.14         $0.00           $0.00        $0.00
TOTAL GENERAL UNSECURED CLAIMS                 $21,645,807.22 $25,839,428.1 $24,177,214.57   $47,283.27
                                                                          1




UST Form 101-7-TDR (10/1/2010)
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                                                                            INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                               Page No:    1               Exhibit 8
                                                                                                        ASSET CASES

Case No.:                     16-50183-CMC                                                                                                                   Trustee Name:                              Myron N. Terlecky
Case Name:                    HEALTHSPOT INC.                                                                                                                Date Filed (f) or Converted (c):           01/13/2016 (f)
For the Period Ending:        4/6/2021                                                                                                                       §341(a) Meeting Date:                      02/18/2016
                                                                                                                                                             Claims Bar Date:                           05/19/2016

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                         Asset Description                                     Petition/                 Estimated Net Value                    Property                 Sales/Funds              Asset Fully Administered (FA)/
                          (Scheduled and                                     Unscheduled                (Value Determined by                    Abandoned                Received by              Gross Value of Remaining Assets
                     Unscheduled (u) Property)                                  Value                          Trustee,                   OA =§ 554(a) abandon.           the Estate
                                                                                                       Less Liens, Exemptions,
                                                                                                          and Other Costs)

 Ref. #
1       Key Bank Checking 8226                                                     $85,165.19                            $85,165.19                                           $85,147.42                                            FA
2       Key Bank Checking 0305                                                        $4,430.71                            $4,430.71                                           $4,427.71                                            FA
3       Key Bank Checking 1170                                                         $228.80                               $228.80                                              $225.80                                           FA
4       Retainer for legal services with Dickinson Wright                          $11,534.90                             $11,534.90                                          $11,534.90                                            FA
        PLLC - may be subject to setoff
5       Security deposit of $15,845.60 with Right Way                              $15,845.60                            $15,845.60                                                 $0.00                                           FA
        Supply Chain Solutions LLC reagrding lease of
        warehouse space at 776 Morrison Rd. Gahanna
        OH - may be subject to setoff
6      Retainer for legal services with Bennett Jones -                            $5,000.00                               $5,000.00                                                $0.00                                           FA
       may be subject to setoff
Asset Notes:     Bennett Jones filed a claim for $61,707.81 (POC 9-1), resulting in this asset as having no value,.
7      Cash advance to Steve Cashmen - may be subject                                 $3,229.73                            $3,229.73                                                $0.00                                           FA
       to setoff
Asset Notes:     Debt discharged. See Case 17-57428.
8       Cash advance to Ryan Rimmel - may be subject                                  $2,000.00                            $2,000.00                                                $0.00                                           FA
        to setoff
9       Prepayment to BMC - may be subject to seroff                               $10,332.91                            $10,332.91                                                 $0.00                                           FA
10      Prepayment to Vidyo Inc. - may be subject to                                  $2,351.59                            $2,351.59                                                $0.00                                           FA
        setoff
11      Prepayment to Paessler - may be subject to                                     $900.00                               $900.00                                                $0.00                                           FA
        setoff
12      Prepayment to CDW - may be subject to setoff                                  $1,261.32                            $1,261.32                                                $0.00                                           FA
13      Prepayment to Oracle Inc. - may be subject to                                 $2,951.32                            $2,951.32                                                $0.00                                           FA
        setoff
14      Telemedicine Kiosks - approximately 137 in the                          $1,824,731.34                                    $0.00                                       $195,166.22                                            FA
        possession of the Debtor late 2015 Recent Cost
Asset Notes:      The Schedules state that the Ohio Development Services Agency has a blanket lien on all non-titled assets. Dell Financial Services claims a security interest in the kiosks and along with NFS
                  Leasing, claims an interest in certain computer hardware. The claim of Dell is $608,000 and the claim of NFS is $300,000. The Trustee has not determined the extent of any secured claim.
                  The listed Secured claim is for all claimed security interests.
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                                                                             INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                                Page No:    2              Exhibit 8
                                                                                                         ASSET CASES

Case No.:                      16-50183-CMC                                                                                                                    Trustee Name:                               Myron N. Terlecky
Case Name:                     HEALTHSPOT INC.                                                                                                                 Date Filed (f) or Converted (c):            01/13/2016 (f)
For the Period Ending:         4/6/2021                                                                                                                        §341(a) Meeting Date:                       02/18/2016
                                                                                                                                                               Claims Bar Date:                            05/19/2016

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                         Asset Description                                      Petition/                 Estimated Net Value                     Property                 Sales/Funds              Asset Fully Administered (FA)/
                          (Scheduled and                                      Unscheduled                (Value Determined by                     Abandoned                Received by              Gross Value of Remaining Assets
                     Unscheduled (u) Property)                                   Value                          Trustee,                    OA =§ 554(a) abandon.           the Estate
                                                                                                        Less Liens, Exemptions,
                                                                                                           and Other Costs)

                   See Doc. 219. Dell's secured claim is 131,599.55, and is randomly being attributed to this asset as the Debtor has no records that would have permitted an identification if which kiosks the
                   respective security interests attached. The assets in which NFS Leasing claims a security interest have been abandoned and are listed in Asset 15 although the secured status of NS Leasing
                   was disputed. The Trustee also received a carve out of $190,700 and is apportioned among assets 14, 15 and 23 in equal amounts of $63,566.67 (one amount will be $63,566.66 and was
                   apportioned to asset 15).
 Ref. #
15      Telemedicine Kiosks - approximatley 54 in the                           $1,264,841.28                           $1,264,841.28                                          $357,967.11                                            FA
        possession of customers pursuant to agreements
        late 2015 Recent Cost
 Asset Notes:     See Notes with Asset 14. Asset Sold (Doc. 219)
16       Demonstration kiosks Replacement Cost                                     $81,265.00                              $81,265.00                                                 $0.00                                           FA
Asset Notes:       See Notes with Asset 14. Asset Sold (Doc. 219)
17       Other inventory and parts late 2015 Recent cost                          $412,464.98                             $412,464.98                                                 $0.00                                           FA
Asset Notes:       See Notes with Asset 14. Asset Sold (Doc. 219)
18     Office Furniture, Non-Leased Computers &                                   $336,123.37                             $336,123.37                                           $92,808.55                                            FA
       Laptops Recent cost
Asset Notes:     See Notes with Asset 14 as to alleged secured claims.
19       2000 Lexus RX300 $2,300.00 NADA                                               $2,300.00                             $2,300.00                                           $4,400.00                                            FA
20       Tooling Replacement                                                      $645,940.24                              $22,300.00                                           $22,300.00                                            FA
Asset Notes:       See Notes with Asset 14. Asset Sold (Doc. 219)
21       Registered trade name "HealthSpot"                                            Unknown                                    $1.00                                               $0.00                                           FA
Asset Notes:       See Notes with Asset 14. Asset Sold (Doc. 219)
22       VOID                                                                             $0.00                                   $0.00                                               $0.00                                           FA
Asset Notes:       See Notes with Asset 14. Asset Sold (Doc. 219)
23       Intellectual property rights and patents                                      Unknown                            $489,566.67                                          $624,566.67                                            FA
         associated with the telemedicine business of the
         Debtor
Asset Notes:       See Notes with Asset 14. Asset Sold (Doc. 219)
24     Promissory Note owed by Steve Cashman for                                       $0.00                              $375,000.00                                                 $0.00                                           FA
       the purchase of stock of the Debtor and secured
       by the stock
Asset Notes:     The amount listed is the principal amount of the note. Debt discharged. See Case 17-57428.
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                                                                                                            ASSET CASES

Case No.:                     16-50183-CMC                                                                                                                      Trustee Name:                              Myron N. Terlecky
Case Name:                    HEALTHSPOT INC.                                                                                                                   Date Filed (f) or Converted (c):           01/13/2016 (f)
For the Period Ending:        4/6/2021                                                                                                                          §341(a) Meeting Date:                      02/18/2016
                                                                                                                                                                Claims Bar Date:                           05/19/2016

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                         Asset Description                                       Petition/                   Estimated Net Value                     Property               Sales/Funds              Asset Fully Administered (FA)/
                          (Scheduled and                                       Unscheduled                  (Value Determined by                     Abandoned              Received by              Gross Value of Remaining Assets
                     Unscheduled (u) Property)                                    Value                            Trustee,                    OA =§ 554(a) abandon.         the Estate
                                                                                                           Less Liens, Exemptions,
                                                                                                              and Other Costs)

25     Promissory Note owed by Steve Cashman to the                                    $0.00                                  $200,000.00                                              $0.00                                           FA
       Debtor for the purchase of stock and secured by
       the stock
Asset Notes:     The amount listed is the principal amount of the note. Debt discharged. See Case 17-57428.
26      Philadelphia Insurance Companies Liability                                       Unknown                                     $1.00             OA                              $0.00                                           FA
        Policy - with bankruptcy exclusions, may not
        provide coverage and may not be property of the
        bankruptcy estate
Asset Notes:      The value of this asset is listed as $1.00 as a litigation strategy and is not reflective of what may be the actual value.


                  This Asset is related to the claims against the Officers and Directors that was abandoned on November 11, 2019. See Doc. 327.
27     The Debtor has filed a lawsuit against                                         Unknown                                  $1.00                                                   $0.00                                           FA
       Computerized Screening Inc. to enforce
       intellectual property rights of record as Case No.
       14 cv 00804 US District Court for the Northern
       District of Ohio Eastern Division. The Debtor
       was successful in the District Ct. in obtaining an
       order that Computerized Screening Inc. did not
       have rights in the Debtor's intellectual property
       and Computerized Screenign Inc. has appealed
       that decision to the Court of Appeals. Unknown
       Nature of claim Enforcement of intellectual
       property rights Amount requested $0.00
Asset Notes:      Asset Sold. See Doc. 219 and notes to Asset 14.
28      Petty Cash                                                   (u)                  $137.08                                  $137.08                                           $137.08                                           FA
29      Verizon Overpayments                                         (u)                    $0.00                                  $216.27                                           $414.04                                           FA
30      Huntington Bank ACH Refund                                   (u)                    $0.00                                   $66.85                                            $66.85                                           FA
31      American Electric--Appliance Recycling Rebate                (u)                    $0.00                                  $261.48                                            $65.00                                           FA
32      Accounts Receivable                                                         $456,462.22                               $506,462.22                                              $0.00                                           FA
Asset Notes:      See Notes with Asset 14. Asset Sold (Doc. 219)
33      Avoidance Claims                                             (u)                    $0.00                           $3,406,800.00                                      $794,300.00                                             FA
34      Other Inventory or supplies                                                 $412,464.98                               $412,464.98                                              $0.00                                           FA
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                                                                                INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                               Page No:    4              Exhibit 8
                                                                                                            ASSET CASES

Case No.:                       16-50183-CMC                                                                                                                     Trustee Name:                               Myron N. Terlecky
Case Name:                      HEALTHSPOT INC.                                                                                                                  Date Filed (f) or Converted (c):            01/13/2016 (f)
For the Period Ending:          4/6/2021                                                                                                                         §341(a) Meeting Date:                       02/18/2016
                                                                                                                                                                 Claims Bar Date:                            05/19/2016

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                           Asset Description                                       Petition/                 Estimated Net Value                      Property               Sales/Funds              Asset Fully Administered (FA)/
                            (Scheduled and                                       Unscheduled                (Value Determined by                      Abandoned              Received by              Gross Value of Remaining Assets
                       Unscheduled (u) Property)                                    Value                          Trustee,                     OA =§ 554(a) abandon.         the Estate
                                                                                                           Less Liens, Exemptions,
                                                                                                              and Other Costs)

Asset Notes:         See Notes with Asset 14. Asset Sold (Doc. 219)
 Ref. #
35      Licenses, franchises, and royalties                                               Unknown                           $4,160,522.71                                               $0.00                                           FA
Asset Notes:         See Notes with Asset 14. Asset Sold (Doc. 219)
36       Fork Lift                                                     (u)                   $0.00                                   $0.00                                              $0.00                                           FA
Asset Notes:         This asset is separately listed as Wells Fargo claims a security interest in this asset. See Check 3025, Dated 8/1/2016.
37       Insurance Refund from Arthur Krenzel Lett                     (u)                   $0.00                                $526.32                                             $526.32                                           FA
         Insurance Group


TOTALS (Excluding unknown value)                                                                                                                                                                           Gross Value of Remaining Assets
                                                                                    $5,581,962.56                         $11,816,554.28                                       $2,194,053.67                                       $0.00




     Major Activities affecting case closing:
       06/30/2020       On October 7, 2019, an Order was entered approving a compromise that resulted in the settlement of the remaining pending adversary proceeding (Doc. 318). The settlement payment
                        that was the subject of the referenced compromise were received on October 23, 2019.


                        On October 24, 2019, Orders were entered sustaining objections to Claims 32, 43, 46 and 48 (See, Doc. 320, 321). On October 30, 2019, a Stipulation was filed as to the treatment of
                        Claim 37 (See, Doc. 324). On December 4, 2019, an Order was entered authorizing a distribution to a Priority Wage Claimant (See, Doc. 329). A distribution was made to the Priority
                        Wage Claimant by check issued on December 31, 2019.


                        On December 11, 2019, an Order was entered approving Special Counsel’s Final Fee Application (See, Doc. 331). On December 31, 2019, an Order was entered approving the Final Fee
                        Application for the Expert Witness employed in this case (See, Doc. 333). Checks were issued to Special Counsel by the end of the year and a check was issued to the Expert Witness
                        on January 2, 2020.


                        An Order was entered on March 20, 2020, authorizing the Trustee to shred certain business records used by special counsel in the litigation referenced above (See. Doc 318). Because of
                        the stay at home order from the governor in response to the COVID-19 pandemic, the offices of special counsel have been closed as all attorneys and staff are working remotely. The
                        offices were reopened at the beginning of June, 2020, and the shredding occurred.


                        The final tax returns were completed by the accountant and sent to the taxing authorities on March 6, 2020. The Final Fee Application was filed on May 27, 2020 (Doc. 342). Once the
                        Order approving the Fee Application is entered, the closing process will begin.
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                                                                                                      ASSET CASES

Case No.:                   16-50183-CMC                                                                                                                    Trustee Name:                               Myron N. Terlecky
Case Name:                  HEALTHSPOT INC.                                                                                                                 Date Filed (f) or Converted (c):            01/13/2016 (f)
For the Period Ending:      4/6/2021                                                                                                                        §341(a) Meeting Date:                       02/18/2016
                                                                                                                                                            Claims Bar Date:                            05/19/2016

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                       Asset Description                                     Petition/                  Estimated Net Value                    Property                  Sales/Funds              Asset Fully Administered (FA)/
                        (Scheduled and                                     Unscheduled                 (Value Determined by                    Abandoned                 Received by              Gross Value of Remaining Assets
                   Unscheduled (u) Property)                                  Value                           Trustee,                   OA =§ 554(a) abandon.            the Estate
                                                                                                      Less Liens, Exemptions,
                                                                                                         and Other Costs)

     06/30/2020     The shredding occurred on June 1, 2020. The final fee application for the accountant was filed on May 27, 2020. Upon entry of the Order, the payment to the accountant and the check
                    being cashed, the Final Report will be filed.
     06/30/2019     The pending adversary (See, Adv Pro 18-2006) was scheduled for trial on July 17, 2019. A motion for withdrawal of reference was filed seeking to remove that matter to the U.S.
                    District Court. No further action has been taken by the District Court.


                    The closing date will depend on the resolution of this adversary proceeding and the filing of final tax returns.
     06/30/2018     There is one remaining avoidance action being prosecuted (See, 18-2006), with a trial scheduled in late 2019. Remaining claims are being considered.
     06/30/2017     The Trustee has begun prosecuting avoidance claims and continues to investigate other claims that remain property of the bankruptcy estate.
     06/30/2016     All personal property and certain related assets have been sold (See, Doc. 178 and 219). The Trustee is investigating any avoidance claims and other claims that remain property of the
                    bankruptcy estate.
                    Authority to terminate the retirement plan was obtained (See, Doc. 191).
     04/14/2016     A Data Room was established to assist in the sale of assets (Doc 76).
                    An accountant was employed to prepare the appropriate tax returns (Doc. 86).
                    Special counsel was employed to represent the bankruptcy estate in intellectual property litigation (Doc. 69).
                    An Auctioneer was employed to conduct an inventory of the Debtor's assets and to be available to sell any of the Debtor's assets in the event the Trustee is unable to do so (Doc. 104).
                    The Trustee is negotiating with parties to sell a majority of the Debtor's assets and hopes to file a motion shortly in that regard.
                    The Trustee is reviewing all documentation to determine the extent of all claimed security interests.


Initial Projected Date Of Final Report (TFR):          12/29/2017                           Current Projected Date Of Final Report (TFR):              09/30/2020                 /s/ MYRON N. TERLECKY
                                                                                                                                                                                  MYRON N. TERLECKY
                                            Case 2:16-bk-50183      Doc 355             FiledFORM
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                                                                    CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                          16-50183-CMC                                                                        Trustee Name:                        Myron N. Terlecky
 Case Name:                        HEALTHSPOT INC.                                                                     Bank Name:                           Pinnacle Bank
Primary Taxpayer ID #:             **-***7250                                                                          Checking Acct #:                     ******0125
Co-Debtor Taxpayer ID #:                                                                                               Account Title:
For Period Beginning:              1/13/2016                                                                           Blanket bond (per case limit):       $2,000,000.00
For Period Ending:                 4/6/2021                                                                            Separate bond (if applicable):

       1                2                                 3                                        4                                         5                    6                      7

   Transaction       Check /                           Paid to/            Description of Transaction                   Uniform           Deposit         Disbursement                Balance
      Date            Ref. #                        Received From                                                      Tran Code            $                  $


02/02/2016                     Keybank                              Closed Debtor's Bank Account                           *              $89,800.93                                     $89,800.93
                      {1}                                                                                 $85,147.42    1129-000                                                         $89,800.93
                      {2}                                                                                  $4,427.71    1129-000                                                         $89,800.93
                      {3}                                                                                   $225.80     1129-000                                                         $89,800.93
02/02/2016            (28)     HealthSpot Inc.                      Petty Cash                                          1229-000             $137.08                                     $89,938.01
02/16/2016           3001      Mitchell Insurance Agency, Inc.      Insurance Premium                                   2420-750                                  $10,015.00             $79,923.01
                                                                    Doc. 37
02/16/2016           3002      JNH Logistics                        Warehouse Rent--February                            2410-000                                  $10,500.00             $69,423.01
                                                                    Doc. 37
02/17/2016           3003      545 Metro Place, LLC                 Payment of Rent                                     2410-003                                  $26,229.51             $43,193.50
                                                                    Doc. 37
02/26/2016            (29)     Verizon Wireless                     Return of Overpayment                               1290-000             $216.27                                     $43,409.77
02/26/2016            (29)     Verizon Wireless                     Return of Overpayment                               1290-000             $196.48                                     $43,606.25
02/26/2016            (30)     Huntington National Bank             ACH Return                                          1290-000              $41.05                                     $43,647.30
02/26/2016            (31)     American Electric Power              Payment from Recycling Program                      1290-000              $65.00                                     $43,712.30
03/01/2016            (4)      Dickinson Wright PLLC                Return of Retainer                                  1141-000          $11,534.90                                     $55,247.20
03/01/2016           3004      JNH Logistics                        Payment of Warehouse Rent--March                    2410-000                                  $10,500.00             $44,747.20
                                                                    Doc. 37
03/01/2016           3005      American Electric Power              Payment of Electric Bill                            2420-000                                      $729.15            $44,018.05
                                                                    #108-317-741-3-7
                                                                    Doc. 37
03/01/2016           3006      545 Metro Place, LLC                 Payment of Rent--March                              2410-000                                  $26,229.51             $17,788.54
                                                                    Doc. 37
03/02/2016                     Pinnacle Bank                        Pinnacle Analysis                                   2600-000                                      $118.29            $17,670.25
03/04/2016           3003      STOP PAYMENT: 545 Metro Place, LLC   Payment of Rent                                     2410-004                                  ($26,229.51)           $43,899.76
                                                                    Doc. 37
03/04/2016           3007      545 Metro Place, LLC                 Payment of Rent                                     2410-000                                  $26,229.51             $17,670.25
                                                                    Doc. 37



                                                                                                                       SUBTOTALS          $101,991.71             $84,321.46
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                                                                      CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                          16-50183-CMC                                                                                        Trustee Name:                        Myron N. Terlecky
 Case Name:                        HEALTHSPOT INC.                                                                                     Bank Name:                           Pinnacle Bank
Primary Taxpayer ID #:             **-***7250                                                                                          Checking Acct #:                     ******0125
Co-Debtor Taxpayer ID #:                                                                                                               Account Title:
For Period Beginning:              1/13/2016                                                                                           Blanket bond (per case limit):       $2,000,000.00
For Period Ending:                 4/6/2021                                                                                            Separate bond (if applicable):

       1                2                                   3                                         4                                                      5                    6                       7

   Transaction       Check /                             Paid to/            Description of Transaction                                 Uniform            Deposit        Disbursement                 Balance
      Date            Ref. #                          Received From                                                                    Tran Code             $                 $


03/16/2016           3008      American Electric Power                Payment of Electric Bill Re: Gahanna                              2420-000                                       $160.85            $17,509.40
                                                                      #108-317-741-3-7
                                                                      Doc. 37
04/04/2016                     Pinnacle Bank                          Pinnacle Analysis                                                 2600-000                                        $76.27            $17,433.13
04/05/2016           3009      JNH Logistics                          Payment of Gas Charges for Leased Property                        2420-000                                      $3,443.91           $13,989.22
                                                                      Doc. 37
05/03/2016                     Pinnacle Bank                          Pinnacle Analysis                                                 2600-000                                        $24.01            $13,965.21
05/18/2016            (29)     Verizon Wireless                       Payment from Verizon                                              1290-000                 $1.29                                    $13,966.50
05/18/2016           3010      Dan Schrader                           Payment for Disassembly, Packing & Moving of Kiosks               2420-000                                      $1,000.00           $12,966.50
                                                                      Doc. 178 & 179
05/26/2016            3011     Dan Schrader                           Payment of Remaining Amount Due for Disassembly,                  2420-000                                      $1,870.00           $11,096.50
                                                                      Packing & Moving Kiosks
                                                                      See Doc. 178 & 179
05/27/2016                     American Electric Power                Refund of Overpayment on Electric Bill                            2420-000                                      ($328.59)           $11,425.09
06/02/2016                     Pinnacle Bank                          Pinnacle Analysis                                                 2600-000                                        $21.84            $11,403.25
06/02/2016           3012      Franklin Computer Services Group       Disconnect & Ship Equipment to Storage $3,700.00                  2420-000                                      $4,536.50               $6,866.75
                                                                      Equipment Storage Through 7-31-16 $520.00
                                                                      Taxes $316.50
                                                                      Doc. 178 & 179
06/07/2016                     Chris Davis - Auction Ohio             Payment on Auctioned Property                                        *              $97,208.55                                     $104,075.30
                      {18}                                                                                                $92,808.55    1129-000                                                         $104,075.30
                      {19}                                                                                                 $4,400.00    1129-000                                                         $104,075.30
06/15/2016           3013      545 Metro Place, LLC                   Payment of Rent for April and May, 2016                           2410-000                                  $52,459.02              $51,616.28
                                                                      Doc. 37
06/27/2016                     Rite Aid Corporation                   Payment on Sale of IP                                                *            $1,000,000.00                                  $1,051,616.28
                                                                      Doc. 219, See Also Doc. 227
                      {23}                                                                                               $489,566.67    1180-000                                                       $1,051,616.28
                      {20}                                                                                                $22,300.00    1129-000                                                       $1,051,616.28
                      {15}                                                                                               $357,967.11    1129-000                                                       $1,051,616.28
                      {14}                                                                                               $130,166.22    1129-000                                                       $1,051,616.28

                                                                                                                                       SUBTOTALS        $1,097,209.84             $63,263.81
                                              Case 2:16-bk-50183        Doc 355             FiledFORM
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                                                                        CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                          16-50183-CMC                                                                                  Trustee Name:                         Myron N. Terlecky
 Case Name:                        HEALTHSPOT INC.                                                                               Bank Name:                            Pinnacle Bank
Primary Taxpayer ID #:             **-***7250                                                                                    Checking Acct #:                      ******0125
Co-Debtor Taxpayer ID #:                                                                                                         Account Title:
For Period Beginning:              1/13/2016                                                                                     Blanket bond (per case limit):        $2,000,000.00
For Period Ending:                 4/6/2021                                                                                      Separate bond (if applicable):

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   Transaction       Check /                           Paid to/                Description of Transaction                         Uniform            Deposit         Disbursement                 Balance
      Date            Ref. #                        Received From                                                                Tran Code             $                  $


06/27/2016                     Transfer From: #******0142               Transferring Funds from Escrow to Return Deposit and      9999-000          $200,000.00                                   $1,251,616.28
                                                                        Sale Closed
06/28/2016           3014      PJGIP, LLC                               Return of Deposit. See Order Doc. 193. Not Estate         8500-002                                   $100,000.00          $1,151,616.28
                                                                        Funds.
06/28/2016           3015      PJGIP, LLC                               Break-Up Fee. See Order Doc. 219                          2990-000                                    $35,000.00          $1,116,616.28
06/28/2016           3016      Treasurer, State of Ohio                 Re: Ohio Development Services Agency                      2410-000                                    $37,596.77          $1,079,019.51
                                                                        See Order, Doc. 219. Reimbursement of Administrative
                                                                        Rent Paid by the State of Ohio.
06/28/2016           3017      Treasurer, State of Ohio                 Re: Ohio Development Services Agency                      4210-000                                   $426,000.00            $653,019.51
                                                                        See Order, Doc. 219. Payment of Personal Property Lien
06/28/2016           3018      Commerical Vehicle Group, Inc.           See Order, Doc. 219. Payment of Personal Property Lien    4210-000                                    $22,300.00            $630,719.51
06/28/2016           3019      Treasurer, State of Ohio                 Re: Ohio Development Services Agency                      4210-000                                   $294,400.45            $336,319.06
                                                                        See Order, Doc. 219. Payment of Personal Property Lien
06/28/2016           3020      Dell Financial Services                  See Order, Doc. 219. Payment of Personal Property Lien    4210-000                                   $131,599.55            $204,719.51
07/05/2016                     Pinnacle Bank                            Pinnacle Analysis                                         2600-000                                        $334.02           $204,385.49
07/07/2016                     Berkshire Hathaway Homestate Insurance   Refund on Insurance Premium                               2420-752                                    ($2,779.00)           $207,164.49
                               Co.
07/08/2016           3021      JNH Logistics, LLC                       Payment for Admin. and Warehouse Labor and Repair         2410-000                                       $5,924.57          $201,239.92
                                                                        Doc. 37
07/13/2016           3022      Auction Ohio                             Payment of Compensation to Auctioneer                     3610-000                                       $9,720.85          $191,519.07
                                                                        Doc. 224
07/13/2016           3023      Auction Ohio                             Payment of Auctioneer Expenses                            3620-000                                       $4,074.32          $187,444.75
                                                                        Doc. 224
07/25/2016           3024      Ohio Mobile Shredding                    Payment for Shredding Services at Warehouse               2420-000                                        $309.85           $187,134.90
                                                                        Doc. 178 & 179
07/26/2016                     Berkshire Hathaway Homestate Insurance   Refund on Insurance Premium                               2420-752                                    ($3,879.00)           $191,013.90
                               Company
08/01/2016           3025      Wells Fargo Equipment Finance            Payment Re: Sale of Forklift                              4210-000                                       $5,872.83          $185,141.07
                                                                        Doc. 231
08/02/2016                     Pinnacle Bank                            Pinnacle Analysis                                         2600-000                                        $535.37           $184,605.70

                                                                                                                                 SUBTOTALS          $200,000.00         $1,067,010.58
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                                                                      CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                          16-50183-CMC                                                                              Trustee Name:                         Myron N. Terlecky
 Case Name:                        HEALTHSPOT INC.                                                                           Bank Name:                            Pinnacle Bank
Primary Taxpayer ID #:             **-***7250                                                                                Checking Acct #:                      ******0125
Co-Debtor Taxpayer ID #:                                                                                                     Account Title:
For Period Beginning:              1/13/2016                                                                                 Blanket bond (per case limit):        $2,000,000.00
For Period Ending:                 4/6/2021                                                                                  Separate bond (if applicable):

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   Transaction       Check /                             Paid to/            Description of Transaction                       Uniform            Deposit         Disbursement                 Balance
      Date            Ref. #                          Received From                                                          Tran Code             $                  $


08/15/2016           3026      MYRON N TERLECKY, ESQ.                 Payment of Attorney Fees                                3110-000                                   $128,101.25             $56,504.45
                                                                      Doc. 233
08/15/2016           3027      MYRON N TERLECKY, ESQ.                 Payment of Attorney Expenses                            3120-000                                    $12,087.71             $44,416.74
                                                                      Doc. 233
08/24/2016            (37)     Arthur Krenzel Lett Insurance Group    Refund of Insurance Monies Previously Paid by Debtor    1221-000             $526.32                                       $44,943.06
09/02/2016                     Pinnacle Bank                          Pinnacle Analysis                                       2600-000                                        $198.13            $44,744.93
09/16/2016           3028      JNH Logistics                          Labor for May                                           2420-000                                       $3,200.00           $41,544.93
                                                                      Inv. No. 16065
                                                                      Doc. 37
09/16/2016           3029      JNH Logistics                          Payment for Trash Pick-Up & Labor                       2420-000                                       $2,400.00           $39,144.93
                                                                      Inv. No. 16068
                                                                      Doc. 37
10/04/2016                     Pinnacle Bank                          Pinnacle Analysis                                       2600-000                                         $68.44            $39,076.49
10/13/2016           3030      FAY SHARPE LLP                         Payment of Special Counsel Fees                         3210-600                                    $18,254.00             $20,822.49
                                                                      Doc. 240
10/13/2016           3031      FAY SHARPE LLP                         Payment of Special Counsel Expenses                     3220-610                                    $11,115.76                 $9,706.73
                                                                      Doc. 240
11/02/2016            (33)     Information Control Company LLC        Payment on Avoidance Claim                              1241-000            $3,000.00                                      $12,706.73
                                                                      Doc. 244
11/02/2016                     Pinnacle Bank                          Pinnacle Analysis                                       2600-000                                         $43.20            $12,663.53
11/08/2016            (33)     United Healthcare Services Inc.        Payment of Avoidance Claim                              1241-000          $115,000.00                                     $127,663.53
                                                                      Doc. 244
11/17/2016            (33)     Vidyo, Inc.                            Payment on Avoidance Claim                              1241-000           $18,900.00                                     $146,563.53
                                                                      Doc. 244
11/28/2016           3032      INSURANCE PARTNERS AGENCY, INC.        Bond Payment                                            2300-000                                         $57.31           $146,506.22
12/02/2016                     Pinnacle Bank                          Pinnacle Analysis                                       2600-000                                        $163.99           $146,342.23
01/04/2017                     Pinnacle Bank                          Pinnacle Analysis                                       2600-000                                        $236.20           $146,106.03
01/05/2017           3033      Clarus Partners, LLC                   Payment of Accountant Fees--Doc. 249                    3410-000                                       $6,500.00          $139,606.03
02/02/2017                     Pinnacle Bank                          Pinnacle Analysis                                       2600-000                                        $228.74           $139,377.29


                                                                                                                             SUBTOTALS          $137,426.32          $182,654.73
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                                                                    CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                          16-50183-CMC                                                                    Trustee Name:                        Myron N. Terlecky
 Case Name:                        HEALTHSPOT INC.                                                                 Bank Name:                           Pinnacle Bank
Primary Taxpayer ID #:             **-***7250                                                                      Checking Acct #:                     ******0125
Co-Debtor Taxpayer ID #:                                                                                           Account Title:
For Period Beginning:              1/13/2016                                                                       Blanket bond (per case limit):       $2,000,000.00
For Period Ending:                 4/6/2021                                                                        Separate bond (if applicable):

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   Transaction       Check /                           Paid to/            Description of Transaction               Uniform           Deposit         Disbursement                 Balance
      Date            Ref. #                        Received From                                                  Tran Code            $                  $


03/03/2017                     Pinnacle Bank                        Pinnacle Analysis                              2600-000                                        $203.22           $139,174.07
03/31/2017           3034      Franklin Computer Services Group     Payment of Invoice Re Download of Data         2420-000                                       $1,035.00          $138,139.07
                                                                    Doc. 255
04/03/2017            (30)     Huntington National Bank             ACH Return                                     1290-000               $25.80                                     $138,164.87
04/04/2017                     Pinnacle Bank                        Pinnacle Analysis                              2600-000                                        $224.65           $137,940.22
05/02/2017                     Pinnacle Bank                        Pinnacle Analysis                              2600-000                                        $216.73           $137,723.49
05/17/2017            (33)     Robert Half International Inc        Payment on Avoidance Claim                     1241-000           $17,000.00                                     $154,723.49
                                                                    Doc. 261
05/18/2017            (33)     EXECUTIVE TRAVEL PLANNERS, INC.      Payment on Avoidance Claim                     1241-000            $5,000.00                                     $159,723.49
                                                                    Doc. 261
05/19/2017            (33)     Smith Drug Company                   Payment on Avoidance Claim--J M Smith Corp.    1241-000           $80,000.00                                     $239,723.49
                                                                    Doc. 261
05/23/2017            (33)     NFS Leasing, Inc.                    Payment on Avoidance Claim                     1241-000           $11,000.00                                     $250,723.49
                                                                    Doc. 261
06/02/2017                     Pinnacle Bank                        Pinnacle Analysis                              2600-000                                        $284.30           $250,439.19
06/08/2017           3035      MYRON N TERLECKY, ESQ.               Payment of Attorney Fees                       3110-000                                   $55,770.00             $194,669.19
                                                                    Doc. 263
06/08/2017           3036      MYRON N TERLECKY, ESQ.               Payment of Expenses                            3120-000                                       $2,175.97          $192,493.22
                                                                    Doc. 263
07/05/2017                     Pinnacle Bank                        Pinnacle Analysis                              2600-000                                        $333.88           $192,159.34
07/17/2017            (33)     Yamamoto                             Payment on Avoidance Claim                     1241-000           $15,000.00                                     $207,159.34
                                                                    Doc. 266
07/17/2017            (33)     Early Security Services              Payment on Avoidance Claim                     1241-000              $500.00                                     $207,659.34
                                                                    Doc. 266
07/19/2017            (33)     Early Security Services              Payment on Avoidance Claim                     1241-000              $500.00                                     $208,159.34
                                                                    Doc. 266
07/25/2017            (33)     HTV Industries                       Payment on Avoidance Claim (TVII Corp.)        1241-000           $69,000.00                                     $277,159.34
                                                                    Doc. 266
07/28/2017            (33)     ARROW ELECTRONICS, INC.              Payment on Avoidance Claim                     1241-000            $3,400.00                                     $280,559.34
                                                                    Doc. 266
                                                                                                                  SUBTOTALS           $201,425.80             $60,243.75
                                            Case 2:16-bk-50183        Doc 355             FiledFORM
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                                                                      CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                         16-50183-CMC                                                                               Trustee Name:                       Myron N. Terlecky
 Case Name:                       HEALTHSPOT INC.                                                                            Bank Name:                          Pinnacle Bank
Primary Taxpayer ID #:            **-***7250                                                                                 Checking Acct #:                    ******0125
Co-Debtor Taxpayer ID #:                                                                                                     Account Title:
For Period Beginning:             1/13/2016                                                                                  Blanket bond (per case limit):      $2,000,000.00
For Period Ending:                4/6/2021                                                                                   Separate bond (if applicable):

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   Transaction       Check /                             Paid to/            Description of Transaction                       Uniform           Deposit        Disbursement                 Balance
      Date            Ref. #                          Received From                                                          Tran Code            $                 $


08/02/2017                     Pinnacle Bank                          Pinnacle Analysis                                       2600-000                                      $343.56           $280,215.78
09/05/2017                     Pinnacle Bank                          Pinnacle Analysis                                       2600-000                                      $904.57           $279,311.21
09/13/2017            (33)     NOTTINGHAM-SPIRK DESIGN                Payment on Avoidance Claim                              1241-000          $5,000.00                                     $284,311.21
                               ASSOCIATES                             Doc. 272
09/18/2017            (33)     EARLY SECURITY SERVICES                Final Two Payments on Avoidance Claims                  1241-000          $1,000.00                                     $285,311.21
                                                                      Doc. 266
10/03/2017                     Pinnacle Bank                          Pinnacle Analysis                                       2600-000                                      $441.52           $284,869.69
10/04/2017                     Pinnacle Bank                          Refund on August bank fee posted 9/5/2017 - the fees    2600-000                                     ($452.29)          $285,321.98
                                                                      were posted for the incorrect amount
11/02/2017                     Pinnacle Bank                          Pinnacle Analysis                                       2600-000                                      $460.48           $284,861.50
12/04/2017                     Pinnacle Bank                          Pinnacle Analysis                                       2600-000                                      $444.98           $284,416.52
12/11/2017           3037      INSURANCE PARTNERS AGENCY, INC.        Bond Payment--Invoice No. 492587                        2300-000                                       $25.24           $284,391.28
                                                                      Acct. No. 3192
01/08/2018                     Pinnacle Bank                          Pinnacle Analysis                                       2600-000                                      $459.09           $283,932.19
02/06/2018                     Pinnacle Bank                          Pinnacle Analysis                                       2600-000                                      $458.43           $283,473.76
03/05/2018                     Pinnacle Bank                          Pinnacle Analysis                                       2600-000                                      $413.42           $283,060.34
03/30/2018                     Pinnacle Bank                          Pinnacle Analysis                                       2600-000                                      $456.87           $282,603.47
04/30/2018                     Pinnacle Bank                          Pinnacle Analysis                                       2600-000                                      $441.33           $282,162.14
05/31/2018                     Pinnacle Bank                          Pinnacle Analysis                                       2600-000                                      $455.32           $281,706.82
06/29/2018                     Pinnacle Bank                          Pinnacle Analysis                                       2600-000                                      $439.93           $281,266.89
07/31/2018                     Pinnacle Bank                          Pinnacle Analysis                                       2600-000                                      $453.88           $280,813.01
08/31/2018                     Pinnacle Bank                          Pinnacle Analysis                                       2600-000                                      $453.15           $280,359.86
10/24/2018           3038      Clarus Partners, LLC                   Payment of Accountant Fees                              3410-000                                     $5,150.00          $275,209.86
                                                                      Doc. 290
12/12/2018           3039      INSURANCE PARTNERS AGENCY, INC.        Bond Payment                                            2300-000                                       $90.10           $275,119.76
01/10/2019           3040      MYRON N TERLECKY, ESQ.                 Payment of Attorney Fees 4-3-17 to 10-31-18             3110-000                                 $30,985.00             $244,134.76
                                                                      Doc. 299
01/10/2019           3041      MYRON N TERLECKY, ESQ.                 Payment of Attorney Expenses 4-3-17 to 10-31-18         3120-000                                     $2,406.90          $241,727.86
                                                                      Doc. 299
                                                                                                                             SUBTOTALS           $6,000.00             $44,831.48
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                                                                       CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                          16-50183-CMC                                                                               Trustee Name:                         Myron N. Terlecky
 Case Name:                        HEALTHSPOT INC.                                                                            Bank Name:                            Pinnacle Bank
Primary Taxpayer ID #:             **-***7250                                                                                 Checking Acct #:                      ******0125
Co-Debtor Taxpayer ID #:                                                                                                      Account Title:
For Period Beginning:              1/13/2016                                                                                  Blanket bond (per case limit):        $2,000,000.00
For Period Ending:                 4/6/2021                                                                                   Separate bond (if applicable):

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   Transaction       Check /                              Paid to/            Description of Transaction                       Uniform            Deposit         Disbursement                 Balance
      Date            Ref. #                           Received From                                                          Tran Code             $                  $


01/14/2019           3042      James E. Arnold                         Payment of Special Counsel Fees                         3210-600                                   $38,735.24             $202,992.62
                                                                       Doc. 300
01/14/2019           3043      James E. Arnold                         Payment of Special Counsel Expenses                     3220-610                                        $746.16           $202,246.46
                                                                       Doc. 300
01/17/2019           3044      Edward T. Gavin, CTP                    Retainer for Expert Witness                             3731-000                                   $25,000.00             $177,246.46
                                                                       Doc. 303
06/20/2019           3045      James E. Arnold                         Payment of Special Counsel Fees--Second Fee             3210-600                                   $55,873.47             $121,372.99
                                                                       App.--Doc. 306
06/20/2019           3046      James E. Arnold                         Payment of Special Counsel Expenses--Second Fee         3220-610                                       $5,348.64          $116,024.35
                                                                       App.--Doc. 306
10/23/2019            (33)     CARDINAL HEALTH                         Payment on Compromise of Avoidance Claim                1241-000          $450,000.00                                     $566,024.35
                                                                       Doc. 318
10/30/2019           3047      Cardinal Health, Inc.                   Return of Funds Due to Overpayment of Compromise.       8500-002                                   $10,000.00             $556,024.35
                                                                       See Doc. 318
11/19/2019           3048      INSURANCE PARTNERS                      Bond Payments                                           2300-000                                         $58.01           $555,966.34
12/18/2019           3049      James E. Arnold                         Payment of Special Counsel Fees--Third and Final        3210-600                                   $36,421.54             $519,544.80
                                                                       Doc. 331
12/18/2019           3050      James E. Arnold                         Payment of Special Counsel Expenses--Third and          3220-610                                       $6,500.89          $513,043.91
                                                                       Final--Doc. 331
12/30/2019           3051      Mark DeCastro                           Gross Pay: $12,850.00                                   5300-000                                       $6,148.72          $506,895.19
                                                                       Employee Withholding: Soc. Security, Med. & FITWH:
                                                                       $5,737.53; Ohio: $642.50 Columbus: $321.25; Doc. 329
01/02/2020           3052      Edward T. Gavin, CTP                    Payment of Expert Witness Fees                          3731-000                                   $71,835.00             $435,060.19
                                                                       Doc. 333
01/02/2020           3053      Edward T. Gavin, CTP                    Payment of Expert Witness Expenses                      3732-000                                         $86.28           $434,973.91
                                                                       Doc. 333
02/04/2020                     Internal Revenue Service                Employer Federal Unemployment                           5300-000                                         $42.00           $434,931.91
                                                                       Doc. 329
02/04/2020                     City Treasurer                          Employee Withholding                                    5300-000                                        $321.25           $434,610.66
                                                                       Doc. 329

                                                                                                                              SUBTOTALS          $450,000.00          $257,117.20
                                            Case 2:16-bk-50183              Doc 355            FiledFORM
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                                                                            CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                          16-50183-CMC                                                                                           Trustee Name:                       Myron N. Terlecky
 Case Name:                        HEALTHSPOT INC.                                                                                        Bank Name:                          Pinnacle Bank
Primary Taxpayer ID #:             **-***7250                                                                                             Checking Acct #:                    ******0125
Co-Debtor Taxpayer ID #:                                                                                                                  Account Title:
For Period Beginning:              1/13/2016                                                                                              Blanket bond (per case limit):      $2,000,000.00
For Period Ending:                 4/6/2021                                                                                               Separate bond (if applicable):

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   Transaction       Check /                          Paid to/                     Description of Transaction                              Uniform           Deposit        Disbursement                 Balance
      Date            Ref. #                       Received From                                                                          Tran Code            $                 $


02/04/2020                     State of Ohio--Ohio Department of Taxation   Employer State Unemployment                                    5800-000                                      $256.50           $434,354.16
                                                                            Doc. 329
02/04/2020                     Ohio Department of Taxation                  Employee State Withholding                                     5300-000                                      $642.50           $433,711.66
                                                                            Doc. 329
02/04/2020                     Internal Revenue Service                     Employee Withholding & FICA                                       *                                         $6,720.56          $426,991.10
                                                                            Employer FICA & FUTA
                                                                            Doc. 329
                                                                                                                            $(4,754.50)    5300-000                                                        $426,991.10
                                                                            Employee FICA                                    $(983.03)     5300-000                                                        $426,991.10
                                                                            Employer FICA                                    $(983.03)     5800-000                                                        $426,991.10
06/09/2020           3054      Ohio Mobile Shredding                        Payment for Shredding                                          2420-000                                      $115.31           $426,875.79
                                                                            Doc. 339
07/31/2020                     Pinnacle Bank                                Service Charge                                                 2600-000                                     $7,470.32          $419,405.47
08/03/2020                     Pinnacle Bank                                Service Charge                                                 2600-000                                 ($7,470.32)            $426,875.79
08/03/2020                     Pinnacle Bank                                Service Charge                                                 2600-000                                      $614.00           $426,261.79
11/30/2020           3055      Blue & Co., LLC                              Claim #: ; Amount Claimed: 9,437.00; Distribution              3410-000                                     $9,437.00          $416,824.79
                                                                            Dividend: 100.00; Account Number: ; Amount Allowed:
                                                                            9,437.00;
11/30/2020           3056      CLERK U S BANKRUPTCY COURT                   Claim #: ; Amount Claimed: 2,800.00; Distribution              2700-000                                     $2,800.00          $414,024.79
                                                                            Dividend: 100.00; Account Number: ; Amount Allowed:
                                                                            2,800.00;
11/30/2020           3057      MYRON N TERLECKY, ESQ.                       Claim #: ; Amount Claimed: 4,178.07; Distribution              3120-000                                     $4,178.07          $409,846.72
                                                                            Dividend: 100.00; Account Number: ; Amount Allowed:
                                                                            4,178.07;
11/30/2020           3058      MYRON N TERLECKY, ESQ.                       Claim #: ; Amount Claimed: 25,355.00; Distribution             3110-000                                 $25,355.00             $384,491.72
                                                                            Dividend: 100.00; Account Number: ; Amount Allowed:
                                                                            25,355.00;
11/30/2020           3059      Myron N. Terlecky                            Trustee Compensation                                           2100-000                                 $85,771.61             $298,720.11
11/30/2020           3060      Myron N. Terlecky                            Trustee Expenses                                               2200-000                                     $2,157.05          $296,563.06



                                                                                                                                          SUBTOTALS                $0.00        $138,047.60
                                             Case 2:16-bk-50183    Doc 355           FiledFORM
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                                                                   CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                          16-50183-CMC                                                                                     Trustee Name:                       Myron N. Terlecky
 Case Name:                        HEALTHSPOT INC.                                                                                  Bank Name:                          Pinnacle Bank
Primary Taxpayer ID #:             **-***7250                                                                                       Checking Acct #:                    ******0125
Co-Debtor Taxpayer ID #:                                                                                                            Account Title:
For Period Beginning:              1/13/2016                                                                                        Blanket bond (per case limit):      $2,000,000.00
For Period Ending:                 4/6/2021                                                                                         Separate bond (if applicable):

       1                2                                   3                                     4                                                      5                    6                       7

   Transaction       Check /                          Paid to/            Description of Transaction                                 Uniform           Deposit        Disbursement                 Balance
      Date            Ref. #                       Received From                                                                    Tran Code            $                 $


11/30/2020           3061      NewCrop, LLC                        Claim #: 1; Amount Claimed: 57,000.00; Distribution               7100-000                                       $111.47          $296,451.59
                                                                   Dividend: 0.20; Account Number: ; Amount Allowed:
                                                                   57,000.00;
11/30/2020           3062      Fay Sharpe LLP                      Claim #: 3; Amount Claimed: 524,850.21; Distribution              7100-000                                     $1,026.45          $295,425.14
                                                                   Dividend: 0.20; Account Number: ; Amount Allowed:
                                                                   524,850.21;
11/30/2020           3063      Vidyo, Inc.                         Claim #: 4; Amount Claimed: 60,922.35; Distribution               7100-000                                      $119.28           $295,305.86
                                                                   Dividend: 0.20; Account Number: ; Amount Allowed:
                                                                   60,992.35;
11/30/2020           3064      Clerk, US Bankruptcy Court          Small Dividends                                                      *                                            $12.24          $295,293.62
                                                                   Claim Amount                                           $(2.30)    7100-001                                                        $295,293.62
                                                                   Claim Amount                                           $(4.42)    7100-001                                                        $295,293.62
                                                                   Claim Amount                                           $(1.71)    7100-001                                                        $295,293.62
                                                                   Claim Amount                                           $(3.81)    7100-001                                                        $295,293.62
11/30/2020           3065      Southwest Displays & Events         Claim #: 6; Amount Claimed: 13,963.90; Distribution               7100-000                                        $27.31          $295,266.31
                                                                   Dividend: 0.20; Account Number: ; Amount Allowed:
                                                                   13,963.90;
11/30/2020           3066      Silo Connectors, LLC                Claim #: 7; Amount Claimed: 3,100.00; Distribution                7100-000                                         $6.06          $295,260.25
                                                                   Dividend: 0.20; Account Number: ; Amount Allowed:
                                                                   3,100.00;
11/30/2020           3067      Bennett Jones LLP                   Claim #: 9; Amount Claimed: 61,707.81; Distribution               7100-000                                      $120.68           $295,139.57
                                                                   Dividend: 0.20; Account Number: ; Amount Allowed:
                                                                   61,707.81;
11/30/2020           3068      CDW                                 Claim #: 10; Amount Claimed: 5,230.43; Distribution               7100-000                                        $10.23          $295,129.34
                                                                   Dividend: 0.20; Account Number: ; Amount Allowed:
                                                                   5,230.43;
11/30/2020           3069      Richard Benson                      Claim #: 11; Amount Claimed: 31,987.50; Distribution              7100-000                                        $62.56          $295,066.78
                                                                   Dividend: 0.20; Account Number: ; Amount Allowed:
                                                                   31,987.50;




                                                                                                                                    SUBTOTALS                $0.00                $1,496.28
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                                                                     CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                          16-50183-CMC                                                                              Trustee Name:                       Myron N. Terlecky
 Case Name:                        HEALTHSPOT INC.                                                                           Bank Name:                          Pinnacle Bank
Primary Taxpayer ID #:             **-***7250                                                                                Checking Acct #:                    ******0125
Co-Debtor Taxpayer ID #:                                                                                                     Account Title:
For Period Beginning:              1/13/2016                                                                                 Blanket bond (per case limit):      $2,000,000.00
For Period Ending:                 4/6/2021                                                                                  Separate bond (if applicable):

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   Transaction       Check /                            Paid to/            Description of Transaction                        Uniform           Deposit        Disbursement               Balance
      Date            Ref. #                         Received From                                                           Tran Code            $                 $


11/30/2020           3070      Kelly Services, Inc                   Claim #: 13; Amount Claimed: 12,425.40; Distribution     7100-000                                     $24.30           $295,042.48
                                                                     Dividend: 0.20; Account Number: ; Amount Allowed:
                                                                     12,425.40;
11/30/2020           3071      Executive Travel Planners Inc.        Claim #: 14; Amount Claimed: 25,035.22; Distribution     7100-000                                     $48.96           $294,993.52
                                                                     Dividend: 0.20; Account Number: ; Amount Allowed:
                                                                     25,035.22;
11/30/2020           3072      Harris Mackessy & Brennan             Claim #: 15; Amount Claimed: 105,275.00; Distribution    7100-000                                    $205.89           $294,787.63
                                                                     Dividend: 0.20; Account Number: ; Amount Allowed:
                                                                     105,275.00;
11/30/2020           3073      Humble Construction Co.               Claim #: 17; Amount Claimed: 38,013.00; Distribution     7100-000                                     $74.34           $294,713.29
                                                                     Dividend: 0.20; Account Number: ; Amount Allowed:
                                                                     38,013.00;
11/30/2020           3074      Information Control Company           Claim #: 19; Amount Claimed: 58,240.00; Distribution     7100-000                                    $113.90           $294,599.39
                                                                     Dividend: 0.20; Account Number: ; Amount Allowed:
                                                                     58,240.00;
11/30/2020           3075      Dell Financial Services L.L.C.        Claim #: 20; Amount Claimed: 476,434.83; Distribution    7100-000                                    $931.76           $293,667.63
                                                                     Dividend: 0.20; Account Number: ; Amount Allowed:
                                                                     476,434.83;
11/30/2020           3076      Mark DeCastro                         Claim #: 21; Amount Claimed: 52,150.00; Distribution     7100-000                                    $101.99           $293,565.64
                                                                     Dividend: 0.20; Account Number: ; Amount Allowed:
                                                                     52,150.00;
11/30/2020           3077      Connected Health Innovations LLC      Claim #: 25; Amount Claimed: 11,011,111.00;              7100-000                                  $21,534.37          $272,031.27
                                                                     Distribution Dividend: 0.20; Account Number: ; Amount
                                                                     Allowed: 11,011,111.00;
11/30/2020           3078      Arrow Electronics Inc                 Claim #: 26; Amount Claimed: 651,843.27; Distribution    7100-000                                   $1,274.81          $270,756.46
                                                                     Dividend: 0.20; Account Number: ; Amount Allowed:
                                                                     651,843.27;
11/30/2020           3079      Hopkins Printing, Inc.                Claim #: 27; Amount Claimed: 8,154.02; Distribution      7100-000                                     $15.95           $270,740.51
                                                                     Dividend: 0.20; Account Number: ; Amount Allowed:
                                                                     8,154.02;



                                                                                                                             SUBTOTALS                $0.00         $24,326.27
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                                                                           CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                          16-50183-CMC                                                                                      Trustee Name:                       Myron N. Terlecky
 Case Name:                        HEALTHSPOT INC.                                                                                   Bank Name:                          Pinnacle Bank
Primary Taxpayer ID #:             **-***7250                                                                                        Checking Acct #:                    ******0125
Co-Debtor Taxpayer ID #:                                                                                                             Account Title:
For Period Beginning:              1/13/2016                                                                                         Blanket bond (per case limit):      $2,000,000.00
For Period Ending:                 4/6/2021                                                                                          Separate bond (if applicable):

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   Transaction       Check /                             Paid to/                 Description of Transaction                          Uniform           Deposit        Disbursement               Balance
      Date            Ref. #                          Received From                                                                  Tran Code            $                 $


11/30/2020           3080      Dell Marketing, L.P.                        Claim #: 28; Amount Claimed: 23,991.01; Distribution       7100-000                                     $46.92           $270,693.59
                                                                           Dividend: 0.20; Account Number: 0954; Amount
                                                                           Allowed: 23,991.01;
11/30/2020           3081      Ohio Department of Taxation                 Claim #: 29; Amount Claimed: 248,974.42; Distribution      5800-000                              $248,974.42              $21,719.17
                                                                           Dividend: 100.00; Account Number: ; Amount Allowed:
                                                                           248,974.42;
11/30/2020           3082      Rite Aid Hdqtrs. Corp.                      Claim #: 31; Amount Claimed: 110,847.42; Distribution      7100-000                                    $532.85            $21,186.32
                                                                           Dividend: 0.20; Account Number: ; Amount Allowed:
                                                                           272,460.50;
11/30/2020           3083      Microsoft Corporation and Microsoft         Claim #: 33; Amount Claimed: 27,852.00; Distribution       7100-000                                     $54.47            $21,131.85
                               Licensing GP                                Dividend: 0.20; Account Number: ; Amount Allowed:
                                                                           27,852.00;
11/30/2020           3084      Variety Children's Hsp fka Miami Chldrn's   Claim #: 34; Amount Claimed: 250,000.00; Distribution      7100-000                                    $440.03            $20,691.82
                               Hsp                                         Dividend: 0.20; Account Number: ; Amount Allowed:
                                                                           225,000.00;
11/30/2020           3085      Ohio Development Services Agency            Claim #: 35; Amount Claimed: 1,085,829.15; Distribution    7100-000                                   $2,123.55           $18,568.27
                                                                           Dividend: 0.20; Account Number: ; Amount Allowed:
                                                                           1,085,829.15;
11/30/2020           3086      545 Metro Place, LLC                        Claim #: 36; Amount Claimed: 244,156.77; Distribution      7100-000                                    $477.50            $18,090.77
                                                                           Dividend: 0.20; Account Number: ; Amount Allowed:
                                                                           244,156.77;
11/30/2020           3087      Commercial Vehicle Group Inc.               Claim #: 37; Amount Claimed: 2,627,647.53; Distribution    7100-000                                   $5,138.89           $12,951.88
                                                                           Dividend: 0.20; Account Number: ; Amount Allowed:
                                                                           2,627,647.53;
11/30/2020           3088      Xerox Consultant Company, Inc.              Claim #: 39; Amount Claimed: 272,303.90; Distribution      7100-000                                    $532.54            $12,419.34
                                                                           Dividend: 0.20; Account Number: ; Amount Allowed:
                                                                           272,303.90;
11/30/2020           3089      Xerox Consultant Company, Inc.              Claim #: 40; Amount Claimed: 6,079,200.00; Distribution    7100-000                                  $11,889.06               $530.28
                                                                           Dividend: 0.20; Account Number: ; Amount Allowed:
                                                                           6,079,200.00;



                                                                                                                                     SUBTOTALS                $0.00         $270,210.23
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                                                                          CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                          16-50183-CMC                                                                                              Trustee Name:                       Myron N. Terlecky
 Case Name:                        HEALTHSPOT INC.                                                                                           Bank Name:                          Pinnacle Bank
Primary Taxpayer ID #:             **-***7250                                                                                                Checking Acct #:                    ******0125
Co-Debtor Taxpayer ID #:                                                                                                                     Account Title:
For Period Beginning:              1/13/2016                                                                                                 Blanket bond (per case limit):      $2,000,000.00
For Period Ending:                 4/6/2021                                                                                                  Separate bond (if applicable):

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   Transaction       Check /                          Paid to/                   Description of Transaction                                   Uniform           Deposit        Disbursement                Balance
      Date            Ref. #                       Received From                                                                             Tran Code            $                 $


11/30/2020           3090      State of Florida - Department of Revenue   Claim #: 42; Amount Claimed: 345.74; Distribution                   5800-000                                    $305.37                 $224.91
                                                                          Dividend: 100.00; Account Number: ; Amount Allowed:
                                                                          305.37;
11/30/2020           3091      UnitedHealthcare Community Plan of Ohio    Claim #: 45; Amount Claimed: 115,000.00; Distribution               7100-000                                    $224.91                    $0.00
                               Inc                                        Dividend: 0.20; Account Number: ; Amount Allowed:
                                                                          115,000.00;
03/04/2021           3061      NewCrop, LLC                               Void of Check# 3061                                                 7100-003                                    ($111.47)               $111.47
03/04/2021           3065      STOP PAYMENT: Southwest Displays &         Stop Payment for Check# 3065                                        7100-004                                    ($27.31)                $138.78
                               Events
03/04/2021           3066      STOP PAYMENT: Silo Connectors, LLC         Stop Payment for Check# 3066                                        7100-004                                      ($6.06)               $144.84
03/04/2021           3070      STOP PAYMENT: Kelly Services, Inc          Stop Payment for Check# 3070                                        7100-004                                    ($24.30)                $169.14
03/04/2021           3071      STOP PAYMENT: Executive Travel             Stop Payment for Check# 3071                                        7100-004                                    ($48.96)                $218.10
                               Planners Inc.
03/04/2021           3076      STOP PAYMENT: Mark DeCastro                Stop Payment for Check# 3076                                        7100-004                                   ($101.99)                $320.09
03/04/2021           3077      STOP PAYMENT: Connected Health             Stop Payment for Check# 3077                                        7100-004                              ($21,534.37)              $21,854.46
                               Innovations LLC
03/04/2021           3082      STOP PAYMENT: Rite Aid Hdqtrs. Corp.       Stop Payment for Check# 3082                                        7100-004                                   ($532.85)            $22,387.31
03/04/2021           3092      Clerk, US Bankruptcy Court                 Unclaimed Dividends                                                    *                                      $22,275.84                $111.47
                                                                          Claim Amount                                            $(27.31)    7100-001                                                            $111.47
                                                                          Claim Amount                                             $(6.06)    7100-001                                                            $111.47
                                                                          Claim Amount                                            $(24.30)    7100-001                                                            $111.47
                                                                          Claim Amount                                            $(48.96)    7100-001                                                            $111.47
                                                                          Claim Amount                                        $(101.99)       7100-001                                                            $111.47
                                                                          Claim Amount                                     $(21,534.37)       7100-001                                                            $111.47
                                                                          Claim Amount                                        $(532.85)       7100-001                                                            $111.47
03/04/2021           3093      Clerk, US Bankruptcy Court                 Unclaimed Dividends                                                 7100-001                                    $111.47                    $0.00




                                                                                                                                             SUBTOTALS                $0.00               $530.28
                                           Case 2:16-bk-50183        Doc 355          FiledFORM
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                                                                     CASH RECEIPTS AND DISBURSEMENTS RECORD
Case No.                          16-50183-CMC                                                                                     Trustee Name:                         Myron N. Terlecky
Case Name:                        HEALTHSPOT INC.                                                                                  Bank Name:                            Pinnacle Bank
Primary Taxpayer ID #:            **-***7250                                                                                       Checking Acct #:                      ******0125
Co-Debtor Taxpayer ID #:                                                                                                           Account Title:
For Period Beginning:             1/13/2016                                                                                        Blanket bond (per case limit):        $2,000,000.00
For Period Ending:                4/6/2021                                                                                         Separate bond (if applicable):

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  Transaction        Check /                          Paid to/              Description of Transaction                              Uniform           Deposit          Disbursement            Balance
     Date             Ref. #                       Received From                                                                   Tran Code            $                   $


                                                                                      TOTALS:                                                       $2,194,053.67         $2,194,053.67                  $0.00
                                                                                          Less: Bank transfers/CDs                                    $200,000.00                 $0.00
                                                                                      Subtotal                                                      $1,994,053.67         $2,194,053.67
                                                                                          Less: Payments to debtors                                         $0.00                 $0.00
                                                                                      Net                                                           $1,994,053.67         $2,194,053.67



                     For the period of 1/13/2016 to 4/6/2021                                                    For the entire history of the account between 01/28/2016 to 4/6/2021

                     Total Compensable Receipts:                   $1,994,053.67                                Total Compensable Receipts:                             $1,994,053.67
                     Total Non-Compensable Receipts:                       $0.00                                Total Non-Compensable Receipts:                                 $0.00
                     Total Comp/Non Comp Receipts:                 $1,994,053.67                                Total Comp/Non Comp Receipts:                           $1,994,053.67
                     Total Internal/Transfer Receipts:               $200,000.00                                Total Internal/Transfer Receipts:                         $200,000.00


                     Total Compensable Disbursements:              $2,084,053.67                                Total Compensable Disbursements:                        $2,084,053.67
                     Total Non-Compensable Disbursements:            $110,000.00                                Total Non-Compensable Disbursements:                      $110,000.00
                     Total Comp/Non Comp Disbursements:            $2,194,053.67                                Total Comp/Non Comp Disbursements:                      $2,194,053.67
                     Total Internal/Transfer Disbursements:                $0.00                                Total Internal/Transfer Disbursements:                          $0.00
                                            Case 2:16-bk-50183     Doc 355             FiledFORM
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                                                                   CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                         16-50183-CMC                                                                                      Trustee Name:                         Myron N. Terlecky
 Case Name:                       HEALTHSPOT INC.                                                                                   Bank Name:                            Pinnacle Bank
Primary Taxpayer ID #:            **-***7250                                                                                        Checking Acct #:                      ******0142
Co-Debtor Taxpayer ID #:                                                                                                            Account Title:                        Escrow Acct
For Period Beginning:             1/13/2016                                                                                         Blanket bond (per case limit):        $2,000,000.00
For Period Ending:                4/6/2021                                                                                          Separate bond (if applicable):

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   Transaction       Check /                          Paid to/            Description of Transaction                                 Uniform            Deposit         Disbursement              Balance
      Date            Ref. #                       Received From                                                                    Tran Code             $                  $


05/25/2016            (23)     PJGIP, LLC                          Escrow Deposit for Auction Sale                                   1180-002          $100,000.00                                  $100,000.00
06/02/2016                     Pinnacle Bank                       Pinnacle Analysis                                                 2600-000                                      $31.24            $99,968.76
06/08/2016                     Rite Aid Headquarters               Escrow Deposit for Auction Sale                                       *             $100,000.00                                  $199,968.76
                      {14}                                                                                             $65,000.00    1129-000                                                       $199,968.76
                      {23}                                                                                             $35,000.00    1180-000                                                       $199,968.76
06/22/2016                     Pinnacle Bank                       Reverse bank fee                                                  2600-000                                     ($31.24)          $200,000.00
06/27/2016                     Transfer To: #******0125            Transferring Funds from Escrow to Return Deposit and              9999-000                                $200,000.00                    $0.00
                                                                   Sale Closed

                                                                                       TOTALS:                                                         $200,000.00           $200,000.00                    $0.00
                                                                                           Less: Bank transfers/CDs                                          $0.00           $200,000.00
                                                                                       Subtotal                                                        $200,000.00                 $0.00
                                                                                           Less: Payments to debtors                                         $0.00                 $0.00
                                                                                       Net                                                             $200,000.00                 $0.00



                     For the period of 1/13/2016 to 4/6/2021                                                     For the entire history of the account between 05/25/2016 to 4/6/2021

                     Total Compensable Receipts:                   $100,000.00                                   Total Compensable Receipts:                               $100,000.00
                     Total Non-Compensable Receipts:               $100,000.00                                   Total Non-Compensable Receipts:                           $100,000.00
                     Total Comp/Non Comp Receipts:                 $200,000.00                                   Total Comp/Non Comp Receipts:                             $200,000.00
                     Total Internal/Transfer Receipts:                   $0.00                                   Total Internal/Transfer Receipts:                               $0.00


                     Total Compensable Disbursements:                    $0.00                                   Total Compensable Disbursements:                                $0.00
                     Total Non-Compensable Disbursements:                $0.00                                   Total Non-Compensable Disbursements:                            $0.00
                     Total Comp/Non Comp Disbursements:                  $0.00                                   Total Comp/Non Comp Disbursements:                              $0.00
                     Total Internal/Transfer Disbursements:        $200,000.00                                   Total Internal/Transfer Disbursements:                    $200,000.00
                                           Case 2:16-bk-50183      Doc 355          FiledFORM
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                                                                    CASH RECEIPTS AND DISBURSEMENTS RECORD
Case No.                         16-50183-CMC                                                                                 Trustee Name:                         Myron N. Terlecky
Case Name:                       HEALTHSPOT INC.                                                                              Bank Name:                            Pinnacle Bank
Primary Taxpayer ID #:           **-***7250                                                                                   Checking Acct #:                      ******0142
Co-Debtor Taxpayer ID #:                                                                                                      Account Title:                        Escrow Acct
For Period Beginning:            1/13/2016                                                                                    Blanket bond (per case limit):        $2,000,000.00
For Period Ending:               4/6/2021                                                                                     Separate bond (if applicable):

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  Transaction        Check /                         Paid to/             Description of Transaction                           Uniform            Deposit         Disbursement           Balance
     Date             Ref. #                      Received From                                                               Tran Code             $                  $




                                                                                                                                                                             NET           ACCOUNT
                                                                                    TOTAL - ALL ACCOUNTS                               NET DEPOSITS                     DISBURSE          BALANCES

                                                                                                                                               $2,194,053.67        $2,194,053.67                  $0.00




                     For the period of 1/13/2016 to 4/6/2021                                               For the entire history of the case between 01/13/2016 to 4/6/2021

                     Total Compensable Receipts:                  $2,094,053.67                            Total Compensable Receipts:                              $2,094,053.67
                     Total Non-Compensable Receipts:                $100,000.00                            Total Non-Compensable Receipts:                            $100,000.00
                     Total Comp/Non Comp Receipts:                $2,194,053.67                            Total Comp/Non Comp Receipts:                            $2,194,053.67
                     Total Internal/Transfer Receipts:              $200,000.00                            Total Internal/Transfer Receipts:                          $200,000.00


                     Total Compensable Disbursements:             $2,084,053.67                            Total Compensable Disbursements:                         $2,084,053.67
                     Total Non-Compensable Disbursements:           $110,000.00                            Total Non-Compensable Disbursements:                       $110,000.00
                     Total Comp/Non Comp Disbursements:           $2,194,053.67                            Total Comp/Non Comp Disbursements:                       $2,194,053.67
                     Total Internal/Transfer Disbursements:         $200,000.00                            Total Internal/Transfer Disbursements:                     $200,000.00




                                                                                                                           /s/ MYRON N. TERLECKY
                                                                                                                           MYRON N. TERLECKY
